EXHIBIT B
                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION

FOODONICS INTERNATIONAL, INC., )
a Florida corporation,
                                  )
        Plaintiff,
                                  )
v.                                             Case No. 3:17-cv-1054-J-32JRK
                                  )
DINA KLEMPF SROCHI, as Trustee
of the LAURA JEAN KLEMPF          )
REVOCABLE TRUST, a Florida trust,
                                  )
        Defendant.
                                  )

DINA KLEMPF SROCHI, as Trustee           )
of the LAURA JEAN KLEMPF
REVOCABLE TRUST, a Florida trust,        )

      Counterclaim Plaintiff,            )

v.                                       )

FOODONICS INTERNATIONAL, INC., )
a Florida corporation, KEVIN
JACQUES KLEMPF,                )

      Counterclaim Defendants.           )

                                         )


            SECOND REQUEST FOR PRODUCTION TO
       COUNTERCLAIM DEFENDANT KEVIN JACQUES KLEMPF

      Counterclaim plaintiff, Dina Klempf Srochi, as Trustee of the Laura Jean

Klempf Revocable Trust (the “Laura Jean Klempf Trust” or the “Trust”), pursuant to

Rule 34, Federal Rules of Civil Procedure, requests that counterclaim defendant,

Kevin Jacques Klempf, produce for inspection and copying the documents and
electronically stored information described below at the law offices of Smith Hulsey

& Busey, One Independent Drive, Suite 3300, Jacksonville, Florida 32202, within 30

days of the date of service of this request.


                                       Definitions

       As used herein:

        1.    “BAM Commercial” refers to BAM Commercial Holdings, LLC, its
officers, directors, affiliates, subsidiaries, employees, agents, attorneys, and
representatives.

        2.    “BAM Residential” refers to BAM Residential Holdings, LLC, its
officers, directors, affiliates, subsidiaries, employees, agents, attorneys, and
representatives.

        3.    “BAM Investment” refers to BAM Investment Group, LLC, its
officers, directors, affiliates, subsidiaries, employees, agents, attorneys, and
representatives.

      4.      The “BAM Entities” refers, collectively, to BAM Commercial, BAM
Residential and BAM Investment.

         5.     “Cal-Maine” refers to Cal-Maine Foods, Inc., its officers, directors,
affiliates, subsidiaries, employees, agents, attorneys, and representatives.

      6.     The “Cal-Maine Sale” refers to the sale of the Assets of Foodonics to
Cal-Maine on or about October 16, 2016.

       7.       “Dennis Blackburn” refers to Dennis L. Blackburn, his employees,
agents, entities, affiliates, attorneys, and representatives.

        8.     “Document(s)” shall have the same meaning as in Rule 34, Federal
Rules of Civil Procedure and shall include, without limiting the generality of the
foregoing, correspondence, contracts, agreements, leases, memoranda, notes, calendar
and diary entries, memoranda or notes of conversations and of meetings, studies,
reports, offers, inquiries, bulletins, summaries, newsletters, compilations, charts,
graphs, photographs, film, microfilm, articles, announcements, books, books of
account, ledgers, vouchers, canceled checks, invoices, bills, opinions, certificates,
transcripts and all other tangible things upon which any handwriting, typing, printing,
drawings, representation, magnetic or electrical impulses or other form of
communication is recorded, now or at any time in your possession, custody or control,

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including but not limited to the originals (or any copy when originals are not
available) and drafts of documents and all copies that are different in any way from
the original.

        9.       “Dolph Baker” refers to Adolphus B. Baker, Chairman, Chief
Executive Officer and President of Cal-Maine Foods, Inc., his employees, agents,
entities, affiliates, attorneys, and representatives.

       10.     “Dream Team Analysis” refers to the documents attached as Exhibit C
to the Amended Answer and Affirmative Defenses to the Complaint and Amended
Counterclaim filed in this Litigation on August 12, 2019 (Doc. No. 142) and all
versions of the Dream Team Analysis, including drafts, revisions or modifications.

        11.    “ESI” means electronically stored information in all forms in which it
is stored and communicated, and has the same meaning as in Rule 34, Federal Rules
of Civil Procedure. ESI specifically includes emails, word processing files, electronic
documents, spreadsheets, presentations, databases, images, movies, audio files,
voicemails, text messages, and any other information stored on any computer, laptop,
tablet, cell phone, smartphone, external hard drive USB drive, cd drive, dvd drive,
backup drive, SharePoint site, file server, or in any remote or “cloud”-based system or
location, including Dropbox. ESI specifically includes all of the following electronic
file types: *.msg, *.pst, *.eml, *.jpg, *.tif, *.gif, *.mov, *.mpg, *.mpeg, *.wmv, *.avi,
*.wav, *.mp3, *.doc, *.docx, *.wpd, *.xls, *.xlsx, *.ppt, *.pptx, *.mdb and *.pdf. ESI
also includes social media data, including information stored by you or communicated
by you through Facebook, Twitter, LinkedIn, Skype and blogs. ESI also includes
business or personal email accounts such as Yahoo Mail, Gmail, Hotmail,
Outlook.com, AOL mail and other web-based email services.

       12.     “Financial Information” refers to any record of the financial activities
of a business, person, or other entity, including, but not limited to, income statements,
balance sheets, statements of financial positions, profit and loss reports, statements of
revenue and expense, cash flow statements, audited financial statements, and
compilations of financial information.

       13.     “Foodonics” refers to Plaintiff/Counterclaim Defendant, Foodonics
International, Inc. doing business as Dixie Egg Co., its officers, directors, affiliates,
subsidiaries, employees, agents, attorneys, and representatives.

        14.    “Foodonics’ Assets” or “Assets” refers to any or all of the assets of
Foodonics in existence between September 1, 2008 and December 31, 2016
including, but not limited to, (i) the egg production assets of Foodonics and its related
entities and/or (ii) Foodonics’ interest in American Egg Products, LLC and the Egg-
Land’s Best franchise with licensing rights for portions of certain markets in
Alabama, Florida, and Georgia as well as Puerto Rico, Bahamas and Cuba.


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       15.    “Foodonics Complaint” means the complaint filed by Foodonics in the
referenced action on September 6, 2017, and any amendments thereto.

      16.   “Foodonics’ Stock” or “Stock” refers to all Class A Voting Shares and
Class B Non-Voting Shares of Foodonics in existence between September 1, 2008
and December 31, 2016.

       17.    The “Jacques Klempf Living Trust” refers to the Kevin Jacques Klempf
Living Trust Under Agreement Dated June 28, 2012 and Restated in its Entirety on
June 21, 2018.

       18.   The “Klempf Declaration” refers to the Declaration of Jacques Klempf
dated August 30, 2019 (Doc. No. 167-1).

       19.      “Laura Jean Klempf” refers to Laura Jean Klempf, her employees,
agents, entities, affiliates, attorneys and representatives.

        20.      “Marc Klempf” refers to Marc E. Klempf, his employees, agents,
entities, affiliates, attorneys, and representatives.

       21.    The term “Litigation” or “Lawsuit” means the above-captioned case.

       22.    The “Redemption Sale” refers to the redemption transaction on the
Settlement and Redemption Agreement which was closed on December 31, 2015.

        23.    “Relate to” and “relating to” mean to make a statement about, refer to,
discuss, describe, reflect, contain, comprise, identify, or in any way to pertain to, in
whole or in part, or otherwise to be used, considered, or reviewed in any way in
connection with, the specified subject. Thus, documents or information that “relate
to” a subject also include those which were specifically rejected and those which were
not relied or acted upon.

       24.    The “Settlement and Redemption Agreement” refers to the Settlement
and Redemption Agreement entered into as of December 21, 2005 by and among
Foodonics; Jacques Klempf; Laura Jean Klempf, individually; Laura Jean Klempf, in
her capacity as Trustee of, and on behalf of, the Laura Jean Klempf Revocable Trust
dated April 1, 1992, as Amended (the “Seller”); Jacques Klempf and Laura Jean
Klempf as Trustees of the Family Trust under the Edward Klempf Revocable Trust
Agreement dated April 1, 1992; Dina Klempf Srochi; and Marc Klempf.

       25.      “SMK” refers to Sheldrick, McGehee & Kohler, LLC, its officers,
directors, affiliates, subsidiaries, employees, agents, attorneys, and representatives.




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       26.     “Trust” or “Defendant” refers to Dina Klempf Srochi, including but not
limited to in her capacity as Trustee of the Laura Jean Klempf Trust dated April 1,
1992.

      27.    “You” or “Your” refers to Counterclaim Defendant Kevin Jacques
Klempf, his employees, agents, entities, affiliates, attorneys, and representatives.

        28.    The singular includes the plural, the past tense includes the present tense,
and vice versa; the words “and” and “or” should be construed either conjunctively or
disjunctively to bring within the scope of these requests any information that might
otherwise be construed to be outside their scope; the word “all” means “any and all”; the
word “any” means “any and all”; and the word “including” means “including, without
limitation.”

        29.     The “relevant time period” shall mean September 1, 2008 through the
date of this request (the “Request”).


                                      Instructions

       1.      These discovery requests are continuing in nature so as to require You
to file supplementary responses if You obtain new or different information up to and
including the time of trial of this action.

       2.      Pursuant to Rule 26(b)(5) of the Federal Rules of Civil Procedure, in
the event that any document or ESI called for by a request is withheld by You on the
basis of claim of privilege, please identify that document or ESI by stating: (a) any
addressor or addressee, (b) matter, number of pages, and attachments or appendices,
(c) all persons to whom the document or ESI was distributed, shown or explained, (d)
its present custodian, and (e) the nature of the privilege asserted.

      3.       If any responsive document or ESI is no longer in existence, cannot be
located, or is not in Your possession, custody, or control, identify it, describe its
subject matter, and describe its disposition, including, without limitation, identifying
the person having knowledge of the disposition.

       4.      In each of Your responses to these discovery requests, You are
requested to provide not only such information as is in Your possession, but all
information as is reasonably available to You or Your attorneys and other agents. In
the event that You are able to provide only part of the information called for by any
discovery request, please provide all of the information You are able to provide and
state the reason for Your inability to provide the remainder.

     5.      Produce ESI in native or near-native format, and do not convert ESI to
an imaged format (e.g., *.TIF or *.PDF). Native format requires production in the

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same format in which the ESI was customarily created, used and stored by you.
Near-native format requires production of native format ESI so that the content and
metadata are electronically accessible. If the native or near-native format is not
compatible with a Microsoft Office Suite software program or application, you should
provide a description of a software program or application that may be used to access
and view the ESI.

      6.       Documents should be produced in searchable *.PDF format with
logical unitization and family relationships preserved.

      7.      No potentially discoverable information contained on your computer
systems should be deleted or modified and procedures that may affect such data
should not be performed unless all potentially discoverable data has been copied and
preserved. The data to be preserved includes not just active data, but archival, backup
and residual data.

      8.      All drafts or versions of documents and ESI should be produced in
addition to the final document or ESI. All documents and ESI containing written
notations, comments, edits or marginalia, or which are in any way different from the
original should be produced in addition to the original.

      9.       In response to this Request, You are required to furnish all information
and documents in Your possession, custody or control, or in the possession, custody
or control of Your past or present agents, attorneys, accountants, advisors, employees,
or any other persons acting on Your behalf.


                           Documents and ESI Requested

       1.     All documents and ESI exchanged between You (including Your counsel)

and any of the following persons on or after January 1, 2017:

       a.     Dolph Baker

              (i)     Email (dbaker@cmfoods.com)

       b.     Sherman Miller

              (i)     Email (smiller@cmfoods.com)

       c.     Rob Holladay

              (i)     Email (rholladay@cmfoods.com)


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d.   Mark Cunningham

     (i)    Email (mcunningham@joneswalker.com)

e.   Dick Still

     (i)    Email (dstill@dixieegg.com)
     (ii)   Email (rstill@comcast.net)

f.   Robert Haile

     (i)    Email (rhaile@BBandT.com)

g.   Ryan Tiedeberg

     (i)    Email (rtiedeberg@BBandT.com)

h.   Matt Turner

     (i)    Email (mturner@BBTscottstringfellow.com)

i.   Todd Bishop

     (i)    Email (TWBishop@BBandT.com)

j.   Ejnar Knudsen

     (i)    Email (eknudsen@agrpartners.com)
     (ii)   Email (EK@AGRpartners.com)

k.   Cecil Gibson

     (i)    Email (Cecil.Gibson@amerisbank.com)

l.   Jess Wright

     (i)    Email (jwright@smki.net)

m.   Steve Rosenbloom

     (i)    Email (srosenbloom@smki.net)

n.   Alexandria Klempf

     (i)    Email (aklempf@bamjax.com)
     (ii)   Email (alexandria.klempf@colorado.edu)

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               (iii)   Email (alexandria.klempf001@umb.edu)
               (iv)    Email (alexandria@wineloungeconcepts.com)
               (v)     Email (aklempf@gmail.com)
               (vi)    Email (klempf@colorado.edu)
               (vii)   Email (chiquitab3724@aol.com)

       o.      Julianne Klempf

               (i)     Email (jklempf@gmail.com)
               (ii)    Email (jklempf@rollins.edu)

       p.      Heather Klempf

               (i)     Email (hklempf6@gmail.com)
               (ii)    Email (lilpnut938@aol.com)

       q.      Marc Klempf

               (i)     Email (mklempf@gmail.com)
               (ii)    Email (panerabooks@gmail.com)
               (iii)   Email (ctedge@gmail.com)

       r.      Andy Bowers

               (i)     Email (aebgeorgia@aol.com)

       s.      Glenn Hickman

               (i)     Email (ghickman@hickmanseggs.com)
               (ii)    Email (ghickman@hickmaneggs.com)

       t.      Charlie Lanktree

               (i)     Email (clanktree@eggland.com)
               (ii)    Email (clanktree@egglands.com)

that relate to any of the following subjects:

       a.      this Litigation.

       b.      the Redemption Sale.

       c.      the Settlement and Redemption Agreement.

       d.      the Cal-Maine Sale.



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       e.     the Dream Team Analysis.

       f.     Laura Jean Klempf or the Jean Klempf Trust.

       g.     Dina Klempf or Dennis Blackburn.

       h.     SMK.

       i.     both (i) You or Foodonics and (ii) Dolph Baker or Cal-Maine.

       j.     both (i) You or Foodonics and (ii) AGR Partners, Opal Foods, or Ejnar
              Knudsen.

       k.     the value of Foodonics’ Assets on or any time after January 1, 2015.

       l.     the value of Foodonics’ Stock on or any time after January 1, 2015.

       2.     All non-disclosure or similar confidentiality agreements (including

drafts) to which You or Foodonics was a party from 2009 to date.

       3.     All valuation reports prepared by SMK related to You or Foodonics

from 2005 to the date of this Request (excluding the SMK Valuation Reports dated

March 31, 2002, March 31, 2004 and September 30, 2015).

       4.     All Documents and ESI showing the distributions made to each

Foodonics shareholder from January 1, 2010 through December 31, 2018 including

all checks, cancelled checks, wire transfer documentation or any other related or

supporting Documents or ESI.

       5.     All Documents and ESI relating to the forgiveness of debt owed to

Foodonics by You or any Trust for Your benefit from January 1, 2015 to December

31, 2018.




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       6.       All Documents and ESI relating to the forgiveness of debt owed to

Foodonics from Alexandria Klempf, Julianne Klempf, Heather Klempf or any Trust

for their respective benefit from January 1, 2015 to December 31, 2018.

       7.       All Documents and ESI relating to (i) all funds Foodonics received in

connection with the Cal-Maine Sale and (ii) Foodonics’ use or distribution of all such

funds from October 1, 2016 through January 31, 2017 including all checks, cancelled

checks, wire transfer documentation or any other related or supporting Documents or

ESI.

       8.       All Financial Statements or other schedules prepared by You or on

Your behalf showing Your assets and liabilities from January 1, 2017 through the date

of this Request.

       9.       All federal tax returns, including all schedules, attachments and work

sheets filed or prepared by You or on Your behalf, individually, for tax years 2014

through 2018.

       10.      All Documents and ESI that relate to the alleged transfer by Foodonics

to the Jacques Klempf Living Trust of the oceanfront home at 815 Ponte Vedra

Boulevard as described in paragraph 15 of the Klempf Declaration including the

statements that:

       (i)      “[i]n repayment of a debt that Foodonics owed me personally, the 815
                Ponte Vedra Blvd. property was titled in the name of the Kevin Jacques
                Klempf Living Trust”;

       (ii)     “this was anticipated to occur before the Trust asserted its claims”; and

       (iii)    “property on which the house is built was an asset of Foodonics in 2015,
                before the Agreement was executed. The Trust was aware of the 815
                Ponte Vedra property prior to the execution of this Agreement.”

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         11.    A copy of the Jacques Klempf Living Trust and all amendments or

modifications from 2012 to the date of this Request.

         12.    All Documents and ESI which identify the assets of the Jacques

Klempf Living Trust and the value of such assets from January 1, 2015 to the date of

this Request.

         13.    All Financial Statements, general ledgers, balance sheets or other

schedules prepared by or on behalf of Foodonics showing its assets and liabilities

from January 1, 2017 through the date of this Request.

         14.    All Documents and ESI identifying the assets of Foodonics during the

period of December 1, 2016 to the date of this Request, and the value of each such

asset.

         15.    All tax returns, including all schedules, attachments, and worksheets,

prepared by or on behalf of Foodonics for tax years 2017 and 2018.

         16.    All general ledgers of Foodonics from January 1, 2010 to the date of

this Request.

         17.    All budgets, projections, and forecasts prepared by or on behalf of

Foodonics from January 1, 2010 to the date of this Request.

         18.    All Documents and ESI relating to patronage distributions or other

income received by Foodonics from Eggland’s Best from January 1, 2010 to

December 31, 2016.

         19.    All Documents and ESI showing or relating to the values of all

Foodonics’s investments in other entities or properties from January 1, 2010 to the

date of this Request.
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        20.   All Documents and ESI showing or relating to the values of all

marketable securities owned by Foodonics from January 1, 2010 to the Date of this

Request.

        21.   All appraisals of property owned by Foodonics with appraisal dates

from January 1, 2010 through the date of this Request.

        22.   All lists of fixed assets owned by Foodonics from January 1, 2010

through December 30, 2014, January 1, 2015 through September 30, 2015, and

January 1, 2016 through the date of this Request

        23.   All lists of notes payable of Foodonics from January 1, 2015 through

September 30, 2015.

        24.   All Documents and ESI identifying the value of Foodonics’ remaining

assets after the Redemption Sale.

        25.   All Documents and ESI identifying the transfer of Foodonics’ assets to

any person or entity after the Redemption Sale.

        26.   All Documents and ESI showing loans made by Foodonics (and/or any of

its affiliates) to any Foodonics’ shareholder from January 1, 2010 through December 31,

2018.

        27.   All Documents and ESI referring or relating to the valuations for Dixie

Egg based on (i) “Price/Bird” or (ii) “EBITDA” as set forth in each version of the Dream

Team Analysis.

        28.   All Documents and ESI identifying the assets of each of the BAM

Entities during the period of January 1, 2016 to date, and the value of each such asset.



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        29.   All Documents and ESI establishing or relating to any agreements

between any of the BAM Entities on the one hand, and You or Foodonics on the other

hand.

        30.   All Documents and ESI relating to any letter of intent, negotiation

and/or agreement to sell, dispose and/or otherwise transfer any asset of any of the

BAM Entities from January 1, 2016 to the date of this Request.

        31.   All diagrams, organizational charts or ownership charts reflecting all

affiliates and entities related to You and/or Foodonics between January 1, 2015 to the

date of this Request.

        32.   All diagrams, organizational charts or ownership charts reflecting all

affiliates and entities related to each of the BAM Entities between January 1, 2016 to

the date of this Request, including all Documents and ESI reflecting changes or

proposed changes to the ownership structure of any of the BAM Entities.

        33.   All Documents and ESI reflecting the members of Foodonics Equities

II, LLC from January 1, 2015 to the date of this Request.

        34.   All Documents and ESI reflecting the members of Foodonics Equities,

LLC from January 1, 2015 to the date of this Request.

        35.   All Documents and ESI reflecting (i) the identity of each member of

each of the BAM Entities from 2016 to the date of this Request, and (ii) the amount of

each member’s ownership interest.

        36.   All operating agreements for each of the BAM Entities from 2016 to

the date of this Request.



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       37.     All Documents and ESI referring or relating to (i) all transfers, gifts,

redemptions or sales of Foodonics’ Stock between January 1, 2016 through December

1, 2019, and (ii) the value or price per share in connection with each such transfer.

       38.     All insurance certificates, insurance policies and other documents

relating to insurance coverage referencing or related to You or Foodonics in

connection with or related to any claim or defense in this Litigation.

       39.     All documents and ESI in the possession of You or Your attorneys that

relate to any agreement, or potential agreement, with any fact witness or potential fact

witness in this Litigation.

       40.     All affidavits and statements in the possession of You or Your

attorneys from any and all persons relating to this Litigation.

                                            SMITH HULSEY & BUSEY


                                            By:     /s/ James H. Post
                                                    James H. Post
                                                    Michael E. Demont
                                                    R. Christopher Dix

                                            Florida Bar Number 0175460
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                                            jpost@smithhulsey.com
                                            mdemont@smithhulsey.com
                                            cdix@smithhulsey.com

                                            Attorneys for Dina Klempf Srochi, as
                                              Trustee of the Laura Jean Klempf
                                              Revocable Trust


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                                  Certificate of Service

            I certify that on December 23, 2019, a copy of this document has been

furnished by email to:

S. Grier Wells, Esq.                          Daniel K. Bean, Esq.
GrayRobinson, P.A.                            Abel Bean Law P.A.
50 North Laura Street, Suite 1100             50 North Laura Street, Suite 2500
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grier.wells@gray-robinson.com                 dbean@abelbeanlaw.com
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                                                           /s/ James H. Post
                                                                Attorney
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